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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 GIOVANNI ORANTES – State Bar No. 190060
 THE ORANTES LAW FIRM, P.C.                                                                              FILED & ENTERED
 3435 Wilshire Blvd. – Suite 2920
 Los Angeles, CA 90010
 Telephone: (213) 389-4362                                                                                       APR 25 2022
 Facsimile: (877) 789-5776
 go@gobklaw.com                                                                                            CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY carranza DEPUTY CLERK




      Attorney for: Debtor and Debtor-In-Possession

                                           UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA -LOS ANGELES DIVISION

 In re:                                                                       CASE NO.: 2:20-bk-17433-VZ
                                                                              CHAPTER: 11
 JONG UK BYUN                                                                  ORDER ON APPLICATION
                                                                               FOR PAYMENT OF:
                                                                                   INTERIM FEES AND/OR EXPENSES
                                                                                   (11 U.S.C. § 331)
                                                                                   FINAL FEES AND/OR EXPENSES
                                                                                   (11 U.S.C. § 330)
                                                                              DATE: April 21, 2022
                                                                              TIME: 11:00 A.M.
                                                                              COURTROOM: 1368
                                                                              PLACE: 255 E. Temple Street, Los Angeles, CA 90012


                                                              Debtor(s).

1.   Name of Applicant (specify): The Orantes Law Firm, P.C

2.   This proceeding was heard at the date and place set forth above and was                                Contested              Uncontested

3.   Appearances were made as follows:
     a.        Applicant present in court
     b.        Attorney for Applicant present in court (name):
     c.        Attorney for United States trustee present in court
     d.        Other persons present as reflected in the court record

4.   Applicant gave the required notice of the Application on (specify date): 03/31/2022



          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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5.   The court orders as follows:
     a.     Application for Payment of Interim Fees is approved as follows:
        (1)      Total amount allowed: $
        (2)      Amount or percentage authorized for payment at this time:

     b.        Application for Reimbursement of Interim Expenses is approved and authorized for payment:
                  Total amount allowed: $

     c.        Application for Payment of Final Fees is approved in the amount of: $ 216,530.00

     d.        Application for Reimbursement of Final Expenses is approved and authorized for payment:
                  Total amount allowed: $ 8,594.21

     e. (1)          Application is denied
                        in full
                        in part
                        without prejudice
                        with prejudice
          (2) Grounds for denial (specify):



     f.        The court further orders (specify): The total amount to be paid is to be reduced by the $22,871.44 retainer
               remaining as of the Petition Date but already drawn pursuant to Professional Fee Statements (Docket Nos. 99
               and 100).




                                                                           ###




                  Date: April 25, 2022




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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